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	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Supreme Court 2017 Senate Budget Testimony
      &nbsp;&nbsp;&nbsp;Results of 2015 Circuit Court User Survey
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	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Supreme Court 2016 Budget Testimony

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	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Video to Illinois Problem-Solving Courts
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 Supreme Court Rules Committee Public Hearings
  Illinois Pattern Jury Instructions-Civil - 1.07 renumbered to 2.05 and revised - revised November 2016 
  Illinois Pattern Jury Instructions-Criminal - 4.36, 4.37, 22.25, 22.26, 11.13, 11.14, 11.15, 11.16, 11.17, 11.18, 11.19, 11.20, 11.21, 11.22, 11.23, 11.24, 11.25,  11.103,  11.106 - approved  April 26, 2016 &amp; 11.104 &amp; 11.105 - approved April 29, 2016
  Bar Admission Ceremonies 
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  Illinois Supreme Court Historic Preservation Commission (IL Supreme Court Historic Preservation Comm'n site)
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  Commission on Professionalism  (IL Supreme Court Comm'n on Professionalism site)
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  Rules of Procedure for the Board of Admissions to the Bar and the Committees on Character and Fitness (IL  Board of Admissions to the Bar site)
  Bar Exam &amp;  Admission (IL  Board of Admissions to the Bar site)
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Chief Justice Lloyd A. Karmeier  
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Citizen Self-Help


           Supreme Court Policy on Access for Persons with Disabilities (Supreme Court only) 
           Petit Juror Handbook
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   The Third Branch - A Chronicle of the Illinois Supreme Court
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